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         ColonelTPerez (Ret)                                                                                    v/

         @Colonel007

Today Eric Trump said that he would physically fight with the Patriots to save Our country. Today
Representative Mo Brooks, asked the Patriots to pledge Our live and wealth to fight for Our country. And
today President Trump told Us to "fight like hell". He said that Our cause was a matter of national security,
and that these people behind the massive fraud must be arrested and brought to justice. And that task,
falls on the shoulders of We The People.... the American Patriots.



So over the next 24 hours, I would say, lets get our personal affairs in order. Prepare Our weapons, and then
go get'em . Lets hunt these cowards down like the Traitors that each of them are. This includes, PINOS,
Dems, and Tech Execs. We now have the green light. [All] who resist Us, are enemies of Our Constitution,
and must be treated as such.



Today, the cowards ran as We took the Capital. They have it back now, only because We left. It wasn't the
building that We wanted... it was them!




                                                                                                  DEFENDANT S
                                                                                                    EXHIBIT
